Case 5:19-cv-00132-TBR-LLK Document 1-1 Filed 09/20/19 Page 1 of 14 PagelD #: 5

 

: Summons Division

PO BOX 718
Alison Lundergan Grimes Commonwealth of Kentucky FRANKFORT, KY 40602-0718
Secretary of State Office of the Secretary of State

August 23, 2019.

ECE
BILA FAMILY PARTNERSHIP RED)

162 NORTH MAINE STREET
FLORIDA, NY 10921

FROM: SUMMONS DIVISION
SECRETARY OF STATE

RE: CASE NO: 19-Cl-00794

COURT: Circuit. Court Clerk
Christian County, Division: |
Christian County Justice Center
100 Justice Way
Hopkinsville, KY 42240-2368
Phone: (270) 889-6539

Legal action has been filed against you in the captioned case. As provided under
Kentucky law, the legal documents are enclosed.

Questions regarding this action should be addressed to:

(1) Your attorney, or .
(2) The attorney filing this suit whose name e should appear on
the last page of the complaint, or
_(3) The court or administrative agency in which the suit is filed
at the clerk's number printed above.

The Kentucky Secretary of State has NO POWER to make a legal disposition of this
case. Your responsive: pleadings should be filed with the clerk of the court or agency
where the suit is filed and served directly on your opposing party.

No copy of future pleadings. need be sent to this office unléss you wish us to serve
the pleading under a particular statute or rule and pay for said service.

 

Kentucky Secretary of State's Office Summons Division . 8/23/2018

 
Case 5:19-cv-00132-TBR-LLK Document 1-1 Filed 09/20/19 Page 2 of 14 PagelD #: 6

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AOC-E-105 Sum Code: Cl
Rev. 9-14 Case # 19-Cl-00794
Court: CIRCUIT

County: CHRISTIAN

Commonweaith of Kentucky
Court of Justice Courts,ky.gov

CR 4.02; Cr Official Form 1 CIVIL SUMMONS

 

 

 

 

Plantiff, ASHBY, MARTHA VS. BIG LOTS STORES, INC., ET AL, Defendant

TO: BILA FAMILY PARTNERSHIP
1462 NORTH MAINE STREET SEer yeh
FLORIDA, NY 10921

 

The Commonwealth of Kentucky to Defendant:

You are hereby notified that a legal action has been filed against you in this Court demanding retief as shown on .

the document delivered to you with this Summons, Unless.a written defense is made by you or by an attorney

on your behalf within twenty (20) days following the day this paper is delivered fo you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.

/sf Paige Parker, Christian
Circuit Clerk
Date: 8/15/2019

 

Proof of Service

This Summons was:

(0 Served by delivering a true copy and the Complaint (or other initiating document)
To: ,

 

(1 Not Served because:

 

 

Date: , 20 7
@ : Served By

 

 

Title

 

 

Summons ID: 183159013160275@00000158444
CIRCUIT: 19-Cl-00794 Long Arm Statute — Secretary of Sfate

KENNEL — eFiled

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Presiding judge: HON. ANDREW SELF (603278)

Package : 000002 of 000014

 

 

 
Case 5:19-cv-00132-TBR-LLK Document 1-1 Filed 09/20/19 Page 3 of 14 PagelD #: 7

Filed 19-C}-00794 08/15/2019 Paige Parker, Christian Circuit Clerk
A true copy attest 19-Cl-00794 08/15/2018 isfPaige Parker, Christian Circuit Clerk

COMMONWEALTH OF KENTUCKY
CHRISTIAN CIRCUIT COURT
Division

Civil Action No: I9-Cl-00794

 

MARTHA ASHBY PLAINTIFF
v. - COMPLAINT
BILA FAMILY PARTNERSRHIP

Serve Via Secretary of State per KRS 454.210

Last Known Address:

162 N. Maine Street
Florida, NY 10921

 

PAIGE PARKER =
CIRCUIT COURT CLERK”
and

 

BIG LOTS STORES, INC,
Serve Via Registered Agent:
Corporation Service Company
421 West Main Street
Frankfort, KY 40601 DEFENDANTS

1, Plaintiff Martha Ashby is an adult individual and citizen of the Commonwealth of
Kentucky who resides at 605 Freemont Drive, Hopkinsville, Kentucky.

2. Defendant Bila Family Partnership is a New York Family Partnership which maintains its
principle executive offices at 162 N. Maine Street, Florida, New York, At all times relevant to this
complaint, Defendant Bila Family Partnership owned the premises, including but not limited to the common
areas and the parking Jot, at 2601 Fort Campbell Boulevard, Hopkinsville, KY 42240 (hereinafter “the -
premises”), The premises includes property leased to various businesses, including Defendant Big Lots
Stores, Inc.

3. ‘The Defendant, Bila Family Partnership, is believed to be a foreign partnership, and
therefore, a nonresident of the Commonwealth of Kentucky. Since the claims of Plaintiff herein relate to a
negligence action, nuisance action, and res ipsa loquitor action in Christian County, Kentucky, pursuant to

KRS 454.210, this court has in personam jurisdiction over said Defendant. In accordance with said statute,

the Secretary of State of the Commonwealth of Kentucky is deemed the statutory agent for service of

Package : 000003 of 000014

Filed 19-Cl-00794 08/15/2019 Paige Parker, Christian Circuit Clerk
Atrue copy attest 19-Cl-00794 08/15/2019 /s/Paige Parker, Christian Circuit Clerk

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Prasiding Judge: HON. ANDREW SELF (893275)

 
Case 5:19-cv-00132-TBR-LLK Document 1-1 Filed 09/20/19 Page 4 of 14 PagelD #: 8

Filed 19-Cl-00794 08/15/2019 Paige Parker, Christian Circult Clerk.
A true copy attest, 19-Cl-00794 08/15/2019 /si/Paige Parker, Christian Circuit Clerk

process of said Defendant, Bila Family Partnership. Accordingly, service of summons should be

 

effectuated in accordance with this statute. Said Defendant’s last known address is 162 N. Maine Street,

Florida, NY 10921.

 

4, At times relevant to this complaint, Defendant Bila Family Partnership engaged in business :
within Christian County, Kentucky, on. a regular, systematic, continuous, and substantial basis,
5. At all times relevant to this complaint, Defendant Bila Family Partnership was the owner

of the premises, including its parking lot area, and supervised, managed, oversaw, controlled, inspected,

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maintained, and/or operated the premises and its parking lot area. As such, at all times relevant to this
complaint, Defendant Bila Family Partnership knew or should have known that the premises and its parking
lot.area were used by business invitees ona regular basis, as the premises includes property leased to various
~ businesses, including Defendant Big Lots Stores, Inc., which businesses are frequented by business invitees
ona regular basis.
6. Atail times relevant to this complaint, Defendant Bila Family Partnership had actual and/or
constructive knowledge of the use by business invitées of the premises including the parking Jot area. -
7. On of about November 4, 2018, Plaintiff was a business invitee of the premises and the

parking lot area of Defendant Bila Family Partnership and of Defendant Bila Family Partnership's lessee,

 

Defendant Big Lots Stores, Inc.

8. Atall times relevant to this complaint, including on or about November 4, 2018, Defendant

Presiding Judge: HON. ANDREW SELF (603276)

Bila Family Partnership owed a duty to use reasonable care to avoid causing injury to the Plaintiff, to insure
her safety: and well-being while using the premises including the parking lot area of the premises, and to
provide a safe environment free from hazards and dangerous conditions.

9. On or about November 4, 2018, there were defects in the parking lot area of the premises,
specifically a depression or "pothole" in an area which was foreseeable to and intended by the Defendant
Bila Family Partnership to be used by its business invitees, and the business invitees of Defendant Bila

Family Partnership’s lessees, The Defendant Bila Family Partnership had actual and/or constructive

knowledge of the existence of this defect.

 

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Filed 19-Cl-00794 08/15/2019 Paige Parker, Christian Circuit Clerk
A true copy attest 19-Cl-00794 08/16/2079 /s/Paige Parker, Christian Gircult Clerk
Case 5:19-cv-00132-TBR-LLK Document 1-1 Filed 09/20/19 Page 5 of 14 PagelD #: 9

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10, On or about November 4, 2018, Plaintiff in her capacity as a business invitee of both

Defendant Bila Family Partnership and Defendant Bila Family Partnership’s lessee, Defendant Big Lots
Stores, Inc., was on the premises'and its parking lot area. As Plaintiff was walking therein, she was caused
to trip, slip, fall and/or become injured because of the defects in the parking Jot area of the premises,
specifically a significant depression or "pothole",

ll. As a foreseeable, direct, and proximate result of the action/inaction described in this

complaint of Defendant Bila Family Partnership, Plaintiffhas sustained severe and painful injuries; ongoing

 

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physical pain and suffering; mental grief and anguish.

12: As-a foreseeable, direct, and proximate result of the action/inaction described in this
complaint by Defendant Bila Family Partnership, Plaintiff was required to attend numerous doctor visits,
limiting her freedom of activity.

13, As a foreseeable, direct, and proximate result of the action/inaction described in this
complaint by Defendant Bila Family Partnership. Plaintiff has suffered and will continue to suffer pecuniary
loss, will need additional medical treatment, and has incurred and will continue to incur medical treatment

expenses, expenses for medications, and other expenses.

 

14, As a foreseeable, direct, and proximate: result of the action/inaction described in this
complaint by Defendant Bila Family Partnership, Plaintiff has experienced and will continue to experience

agonizing aches, pains and mental anguish; has been prevented from participating fully in activities of her

Presiding Judge: HON. ANDREW SELF {603275}

avocations; has missed time from her,employment; has experienced and will continue to experience
pecuniary loss; and has sustained a loss of life's pleasures and negative impact upon her lifestyle.

15, The injuries sustained by Plaintiff were due in no manner whatsoever to any action or

failure to act by Plaintiff,

 

COUNT 1 =
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Negligence 5
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16. Plaintiff realleges and incorporates the allegations contained in each other paragraph of this 8
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complaint as if fully set forth in this count. &
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Filed 49-Cl-00794 08/15/2019 Paige Parker, Christian Circuit Clerk

Atrue copy attest 19-C1-00794 08/18/2019 IsiPaige Parker, Christian Circuit Clerk
Case 5:19-cv-00132-TBR-LLK Document 1-1 Filed 09/20/19 Page 6 of 14 PagelD #: 10

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A true copy attest 19-Cl-00794 08/15/2019 /siPaige Parker, Christian. Circuit Clerk

17, Defendant Bila Family Partnership breached the aforementioned duty to Plaintiff, was

negligent, in each of the following ways:

i. by failing to provide Plaintiff with a safe environment free from hazards and

dangerous conditions, specifically in the parking lot area of the premises;

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ii, by failing adequately to maintain the parking lot area of the premises; S
iii, by negligently maintaining the parking lot area of the premises; &
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iv. by failing to inspect the parking lot area of the premises; oe
o

v. by creating a trap, nuisance and/or dangerous condition, or causing or allowing &

such to occur, in the parking lot area of the premises;
vi. by failirig to warn plaintiff of the dangerous condition of, and/or created by, the |
pothole/depression in the parking lot area of the premises which caused Plaintiff to become inj ured;
vil. by failing to barricade the area and/or to place warning ‘signs to alert Plaintiff to
the darigerous condition of, and/or created by, the pothole/depression in the parking lot area of the
premises which caused plaintiff to become injuréd;
- viii. by failing properly to select, to train, to oversee, and/or to supervise its employees,

- workmen, staff, agents, and personnel, regarding the maintenance of the parking lot area of the

nidge: HON. ANDREW SELF (603276)

premises;
AX, by using negligent hiring and contracting practices regarding insuring safety of its zg
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business invitees and the maintenance of the parking lot area of the premises; x
x by disregarding the rights and safety of the Plaintiff and others using the parking
lot area of the premises;,
xi. by failing to use due care under the attendant circumstances;
xii, by such other acts of carelessness and negligence as may be uncovered through the t
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Case 5:19-cv-00132-TBR-LLK Document 1-1 Filed 09/20/19 Page 7 of 14 PagelD #: 11

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A true-copy attest 19-Cl-00794 08/15/2019 /s/Paige Parker, Christian Circuit Clerk
18, As a. foreseeable, direct and proximate result of the above-described. actior/inaction of

Filed

Defendant Bila Family Partnership Plaintiff has suffered injuries and damages as more fully described
elsewhere in this complaint.

19, The above-described action/inaction of Defendant. Bila Family Partnership: was a
foreseeable and proximate cause of the injuries and damages Plaintiff has suffered as more fully described
elsewhere in this complaint.

WHEREFORE, Plaintiff demands judgment against Defendant Bila Family Partnership, for
compensatory damages in an amount in excess of fifty thousand dollars ($ 50,000.00), together with pre-
judgment and post-judgment interest, costs of suit, attorneys’ fees, a trial by jury, and such other and further
relief as may be just and equitable. |

~ COUNT TWO
Nuisance

20. Plaintiffrealleges and incorporates the allegations contained in eachother paragraph of this
complaint as if fully set forth in this count.

21, Defendant Bila Family Partnership maintained the parking lot area of the premises in such

a manner that resulted in the creation and permitted maintenance of a nuisance, a nuisance per se, a private

nuisance, a public nuisance, and/or a united nuisance to exist, up to and including the date that, Plaintiff .

sustained the injuries complained of herein,

22. As a foreseeable, direct, and proximate result of the above-referred to nuisance or
nuisances, Plaintiff has suffered and will continue to suffer severe, permanent, and personal damages as
more fully set forth.elsewhere in this coinplaint

WHEREFORE, Plaintiff demands judgment against Defendant Bila Family Partnership for

compensatory damages in.an amount in excess of fifty-thousand dollars ($ 50.000.00), together with pre-

judgment and post-judgment interest, costs of suit attorneys' fees, a trial by jury, and such other and further

relief as may be just and equitable.

19-CI-00794 08/15/2018 Paige Parker, Christian Circuit Clerk

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Prasiding Judge: HON. ANDREW SELF (603276)

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Filed 49-Cl-00794 08/15/2019 Paige Parker, Christian Circuit Clerk

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/siPaige Parker, Christian Circuit Clerk

COUNT THREE
Res Ipsa Loquitor

23, Plaintiff realleges and incorporates the allegations contained in each other paragraph of this
coinplaint as if fully set forth in this count,

24, — At all relevant times, the instrumentality that caused the injuries to Plaintiff was in the

control of Defendant Bila Family Partnership, and the occurrence complained of is of a kind which
ordinarily does not occur in the absence of negligencé on the part of the entity/person(s) in charge of the
ownership, supervision, or maintenance thereof.

25. No action/inaction by the Plaintiff or persons other than Defendant Bila Family Partnership
and its agent(s), designee(s), servant(s), workmen, or-employee(s), caused or contributed to the Plaintiff's
injuries and losses. .

26. The negligence, or action/inaction, of Defendant Bila Family Partnership is within the
scope of Defendarit Bila Family Partnership’s above-described duties to the Plaintiff.

27. In light of the foregoing, the Plaintiff is entitled to'rely‘on the doctrine of res ipsa loguitur

in holding Defendant Bila Family Partnership liable for the events and injuries and damages set forth above.

WHEREFORE, Plaintiff demands judgment against Defendant Bila Family Partnership for

compensatory damages in an amount in excess of fifiy-thousand dollars ($ 50,000.00), together with pre-
judgment and post-jiidgment interest, costs of suit, attorneys’ fees, a trial by jury, and sucli other and further
relief as may be just and equitable.
COUNT FOUR
Claims Against Defendant Big Lots Stores, Inc.

28. Plaintiff realleges and incorporates the allegations contained in each other paragraph of this
complaint as if fully set forth in this count. Plaintiff specifically alleges all causes of action in Counts One,
Two, and Three above against Defendant Big Lots Stores, Inc,

29, Defendant Big Lots Stotes, hic. is a foreign corporation with its principal place of business

in Columbus, Ohio.

49-Cl-00794 08/15/2019 Paige Parker, Christian Circuit Clerk

Atrue copy attest 19-Cl-00794 08/15/2019 . isiPaige Parker, Christian Circuit Clerk

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Presiding Judge: HON. ANDREW SELF {603279}

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Case 5:19-cv-00132-TBR-LLK Document 1-1 Filed 09/20/19 Page 9 of 14 PagelD #: 13

Filed 19-Cl-00794 08/15/2019 Paige Parker, Christian Circuit Clerk
A true copy attest 19-Cl-00794 08/18/2019 /s/Paige Parker, Christian Circuit Clerk

30. At all times relevant, Plaintiff was a business invitee of Defendant Big Lots Stores, Inc.
3h. At all tities relevant, Defendant Big Lots Stores, Inc., had a duty to maintain the parking
Jot in which Plaintiff fell and sustained injury in a reasonably safe condition.

32, Defendant Big Lots Stores, Inc. failed to maintain the parking Jot in which Plaintiff fell in
a reasonably safe condition.

33, Defendant Big Lots Stores, Inc. -failed to warn Plaintiff of a defective, unreasonably
dangerous condition in the parking lot in which Plaintiff fell and sustained injury.

34. The above-described conduct of Defendant Big Lots Stores, Inc, caused Plaintiff to sustain
numerous injuries, to incur medical expense past and future, to endure pain and suffering past and future,
to miss time from her employment, and has permanently impaired Plaintiff's power to earn money.

WHEREFORE, Plaintiff demands judgment against Defendant Big Lots Stores. Inc. for
compensatory damages in-an amount in excess of fifty-thousand dollars ($ 50,000.00), together with pre-

judgment and post-judgrnent interest, costs of suit, attorneys’ fees, a trial by jury, and such other and further

relief'as may be just and equitable,

| Respectfully submitted,

HOUSMAN, GARATT &
DUNCAN, PLLC

/s/ Clay Duncan.
CLAY DUNCAN
GEORDIE GARATT
109 S..4" Street
PO Box 1196

Paducah KY 42002-1196
270-444-6644

Attorneys for Plaintiff
This the 15" day of August, 2019,

Filed 19-Cl-00794 08/15/2019 Paige Parker, Christian Circuit Clerk
Atrue copy-attest’ 19-C!-00794 08/15/2019. is/Paige Parker, Christian Circuit Clerk

Presiding Judge: HON. ANDREW SELF (603276)

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Case 5:19-cv-00132-TBR-LLK Document 1-1 Filed 09/20/19 Page 10 of 14 PagelD #: 14

Filed 79-Cl-00794 08/15/2019 Paige Parker, Christian Circuit Clerk
A true copy attest 19-CI-00794 08/15/2019 fsIPaige Parker, Christian Circuit Clerk

CERTIFICATION NOTICE PURSUANT TO 41 1.188

Without conceding the propriety or the constitutionality of KRS 411.1 88, nor the admissibility
in evidence before a jury of the information described in that statute, | hereby certify that a copy of
this Complaint and Certification are being sent by certified mail, return receipt requested to:

Blue Cross Blue Shield of Michigan . Kanaa Ford, Sr. Claim Specialist
Gary L. Schmalzried, Esq., Asst. Gen. Counsel Liberty Mutual Insurance
232 8 Capitol Avenue, LO09 PO Box 7214

Lansing MI 48933-1504 , London KY 40742

Claim #: P58D032061
advising them of potential subrogation rights. Failure to assert such rights by intervention, pursuant
_ to Kentucky Civil Rule 24 may result in a loss of those rights with respect to any final award received
by the plaintiff as a result of this action.

This 15" day of August, 2019.

/si Clay Duncan _

Filed 49-Cl-00794 08/15/2019 Paige Parker, Christian Circuit Clerk
A true copy attest 19-Cl-00794 08/15/2019 isiPaige Parker, Christian Circuit Clerk

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Presiding Judge: HON. ANDREW SELF {603276}

 
Case 5:19-cv-00132-TBR-LLK Document 1-1 Filed 09/20/19 Page 11 of 14 PagelD #: 15

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A true copy attest =19-C1-00794 = 08/15/2019 isiPaige Parker, Christian Circuit Clerk

COMMONWEALTH OF KENTUCKY
CHRISTIAN CIRCUIT COURT

 

Division ___
Civil Action No:
MARTHA ASHBY PLAINTIFF
Vv REQUESTS FOR ADMISSION AND PRODUCTION TO DEFENDANT
BIG LOTS STORES, INC.
BILA FAMILY PARTNERSHIP
Serve Via Secretary of State per KRS 454.210.
Last Known Address:
162 N. Maine Street
Florida, NY 10921
and
BIG LOTS STORES, INC.
Serve Via Registered Agent:
Corporation Service Company
421] West Main Street
Frankfort, KY 40601 DEFENDANTS

Plaintiff propounds these Requésts for Admission and Production to Defendant Big Lots
Stores, Inc, pursuant to Civil Rules 34 and 36, to be answered within 45. days of service. All
responses to requests for production are to be made at the office of Plaintiffs counsel.
REQUESTS FOR ADMISSION

1. Defendant Big Lots Stores, Inc. is requested to admit that it is the owner of the

property which includes the parking lot in frorit of the Bi g Lots store located at 2601 Fort Campbell <

Boulevard, Hopkinsville, KY 42240.
2. Defendant Big Lots Stores, Inc. is requested to admit that it is solely responsible
for the maintenance of the parking lot in front of the Big Lots store located at 2601 Fort Campbell

Boulevard, Hopkinsville, KY 42240. If the response is anything otherthan “admit” this Defendant

must provide the name and address of any other individual or entity it contends is responsible for

Filed 49-Cl-00794 08/15/2019 Paige Pafker; Christian Circuit Clerk
Atrue copy attest 19-Cl-00794 08/15/2019 {s/Paige Parker, Christian Circuit Clerk

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Presiding Judge: HON. ANDREW SELF (602278)

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Case 5:19-cv-00132-TBR-LLK Document 1-1 Filed 09/20/19 Page 12 of 14 PagelD #: 16

‘Filed 19-Cl-00794 08/45/2019 Paige Parker, Christian Circuit Clerk
A true copy attest 19-Ci-00794 08/15/2019 /s/Paige Parker, Christian Circuit Clerk

the maintenance of the parking lot in front of the Big Lots store located at 2601 Fort Campbell
Boulevard, Hopkinsville, KY 42240, and any documentation supporting its response to this
Request for Admission. |
REQUESTS FOR PRODUCTION
1, Defendant Big Lots Stores, Inc. is requested to produce any lease agreement in effect
as of November 4, 2018, pertaining to the property located at 2601 Fort Campbell Boulevard,

Hopkinsville, KY 42240 to which Defendant Big Lots Stores, Inc., or any of its subsidiaries, was

a party,

Respectfully submitted,

HOUSMAN, GARATT & DUNCAN, PLLC

/sf Clay Duncan

CLAY DUNCAN
GEORDIE GARATY
109 S..4® Street

PO Box 1196

Paducah KY 42002-1196
270-444-6644

Attorneys for Plaintiff

CERTIFICATE OF FILING

| hereby certify that these Requests for Admission and Production were electronically:
filed with the Christian Circuit Court Clerk on August 15, 2019 to be served on Defendant Big
Lots Stores, Inc, along with the Summons and Complaint,

/sf.Clay Duncan

Filed 19-Cl-00794 08/15/2019 Paige Parker, Christian Circuit Clerk
A true copy attest 19-Cl-00794 08/16/2019 fsiPaige Parker, Christian Circult Clerk

Package:000012 of 000014

Presiding Jiidge: HON, ANDREW SELF (603278)

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‘Filed 49-Cl-00794 08/15/2019

Paige Parker, Christian Circuit Clerk
A true copy attest 19-Cl-00794 08/15/2019

{s/Paige Parker, Christian Circuit Clerk

COMMONWEALTH OF KENTUCKY
CHRISTIAN CIRCUIT COURT
Division

Civil Action No; _.

MARTHA ASHBY PLAINTIFF

vy. REQUESTS FOR ADMISSION AND PRODUCTION TO DEFENDANT
BILA FAMILY PARTNERSHIP

BILA FAMILY PARTNERSHIP
Serve Via Secretary of State per KRS 454.210
Last Known Address:
162 N. Maine Street
Florida, NY 10921
and

BIG LOTS STORES, INC.
Serve Via Registered Agent:

Corporation Service Company
421 West Main Street .
Frankfort, KY 40601 DEFENDANTS
Plaintiff propounds these. Requests for Admission and Production to Defendant, Bila
Family Partnership’ pursuant to Civil Rules 34 and 36, to be answered within 45 days of service.
All responses to requésts for production aré to be made at the office of Plaintiff's counsel.
| REQUESTS FOR ADMISSION
1, Defendant Bila Family Partnership is requested to admit that it is the owner of the
property which includes.the parking lot in front of the Big Lots store located at 2601 Fort Campbell
Boulevard, Hopkinsville, KY 42240,
2. Defendant Bila Family Partnership is requested to admit that it is solely responsible
for the maintenance of the parking lot in front of the Big Lots store located at 2601 Fort Campbell

Boulevard, Hopkinsville, KY 42240, If the response is anything other than “admit” this Defendant

must provide the name and address of any other individual or entity it contends is responsible for

Filed 19-C1-00794 08/15/2019 Paige Parker, Christian Circuit Clerk
Atrue copy attest 19-Cl-00794 08/15/2019 fsiPaige Parker, Christian Circuit Clerk

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Presiding Judge: HON: ANDREW SELF {608276}

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Case 5:19-cv-00132-TBR-LLK Document 1-1 Filed 09/20/19 Page 14 of 14 PagelD #: 18

‘Filed 19-Ci-00794 08/45/2019 Paige Parker, Christian Circuit Clerk
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the maintenance of the parking lot in front of the Big Lots store located at 2601 Fort Campbell
Boulevard, Hopkinsville, KY 42240, and any documentation supporting its response to this
Request for Admission.
REQUESTS FOR PRODUCTION
1, Defendant Bila Family Partnership is requested to produce any lease agreement in
effect as of November 4, 2018, pertaining to the property located at 2601 Fort Campbell Boulevard,

Hopkinsville, KY 42240 to which Defendant Bila Family Partnership was a party.

Respectfully submitted,

HOUSMAN, GARATT & DUNCAN, PLLC

/s/ Clay Duncan

CLAY DUNCAN
GEORDIE GARATT
109 S. 4" Street

PO Box 1196

Paducah KY 42002-1196
270-444-6644

Attorneys for Plaintiff

CERTIFICATE OF FILING

I hereby certify that these Requests for Admission and Production were electronically
filed with the Christian Circuit Court Clerk on August 15, 2019 to be served on Defendant Bila
Family Partnership along with the Summons and Complaint.

!si Clay Duncan

Filed 49-Cl-00794 08/15/2019 Paige Parker, Christian Circuit Clerk
Atrue copy attest 19-Cl-00794 08/15/2019 isiPaige Parker, Christian Circuit Clerk

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Presiding Judge: HON. ANDREW -SELF {803276}

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